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_ BYM._.DEP. cLK '
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civil Action No. 19 CV "' 0 0 2 2 8 v
(To be supplied by the court)
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g Defendant(s).

(List each named defendant on a separate line. [f you cannot fit the names of all defendants in
the space provided, please write “see attached ” in the space above and attach an additional
sheet of paper with the full list of names. The names of the defendants listed in the above
caption must be identical to those contained in Section B. Do not include addresses here.)

 

COMPLA]NT

 

 

 

NOTICE

Federal Rule of Civil Procedure 5.2 addresses the privacy and security concerns resulting from
public access to electronic court files. Under this rule, papers filed with the court should not
contain: an individual’s full social security number or full birth date; the hill name of a person
known to be a minor; or a complete i;inancial account number. A filing may include only: the
last four digits of a social security numbcr; the year of an individual’s birth; a minor’s initials;
and the last four digits of a financial account number.

Plaintifl` need not send exhibits, af|idavits, grievances, witness statements, or any other
materials to the Clerk"s Ofliee with this complaint

 

 

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You must notijjl the COW‘¢

of any changes to your

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served by filing a notice of change of address. F ailure to keep a current address onjile with the

court may result in dismissal of your case.

MOll ¢'; m m gi left bfi/mler

(Name and complete mailing address)

mo %8@»~».% », mm.\_m,mmt,® cum .
(Telephone number and e-mail address) ‘ ' ‘}

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B. DEFENDANT(S) INFORMATION

Please list the following information

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(`t"m

for each defendant listed in the caption of the complaint .[f

more space is needed, use extra paper to provide the information requested The additional

 

 

pages regarding defendants should be labeled “B. DEFENDANT(S) INFORMAHO ." 6 )`
.v . _ ' ,.' r )\\/\ l " l ,, q ' ` _ ,
Defendant l: Ul’l l V€Y§\'\'\;\é @’e mo "/»ll/\Wv\ iv ica/auld , ECl Cl(\ 5de KGtIl/\\/V\S l_”’(»)(%
amc and m lete mailin address ,_ _ , ',- . .
(N p g ) C»;\ QJMJ j w §L')<,§C\
(Telephone number and e-mail address if known)

 

 

 

 

Defendant 2:
(Name and complete mailing address)
(Telephone number and e-mail address if lmown)
Defendmt 3:
(Name and complete mailing address)
(Telephone number and e-mail address if known)
Defendant 4:

 

(Name and complete mailing address)

 

('l`elephone number and e-mail address if lcnown)

Case 1: - - - `
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__ T_JURISDICTION__,_ 4 __ _ mm _ r_ w
Identijj) the statutory authority that allows the court to consider your claim(s)'.‘ (check one '~- »-- - -¢ . _ ,_

g Federal question pursuant to 28 U.S.C. § 1331 (claims arising under the Constitution,
laws, or treaties of the United States)

List the specific federal statute, treaty, and/or provision(s) of the Unitcd States
Constitution that are at issue in this case.

 

 

g Diversity of citizenship pursuant to 28 U.S.C. § 1332 (a matter between individual or
corporate citizens of different states and the amount in controversy exceeds $75,000)

Plaintiff is a citizen of the State of

 

  
    

    
 

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ifDefendam 1 is an individual, Defendant 1 is a citizen of`

If Defendant l is a corporation,

 

Defendant 1 is incorporated under the laws of (name of
state or foreign nation).

Defendant l has its principal place of business in (name of
state or foreign nation).

(If more than one defendant is named in the complaint, attach an additional page
providing the same information for each additional defendant.)

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State clearly and concisely every claim that you are asserting in this action Por e_aEh-ciaim,_-_,- ’
specij§) the right that allegedly has been violated and state all facts that support your claim, t
including the date(s) on which the incident(s) occurred, the name(s) of the specific person(s)

involved in each claim, and the specific facts that show how each person was involved in each

claim. You do not need to cite specific legal cases to support your claim(s). If additional space

is needed to describe any claim or to assert additional claims, use extra paper to continue that

claim or to assert the additional claim(s). Please indicate that additional paper is attached and

label the additional pages regarding the statement of claims as “D. STATEMENT OF CLALMS'. ”

CLAlM ONE:

 

Supporting facts:

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LLA“nvl' TWO.

Supporting facts:

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____E.__REQUEST_FOR_REI:IEF
State the relief you are requesting or what you want the court to do. If additional space is needed
to identin the rel ief you are requesting, use extra paper to request relief Please indicate that
additional paper is attached and label the additional pages regarding relief as “E. REQUEST
FOR RELEF. ”

F. PLAINTIFF’S SIGNATURE

I declare under penalty of perjury that l am the plaintiff in this action, that I have read this
complaint, and that the information in this complaint is true and correct. See 28 U.S.C. § 1746;
18 U.S.C. § 1621.

Under Federal Rule of Civil Procedure ll, by signing below, I also certify to the best of my
knowledge, information, and belief that this complaint (1) is not being presented for an improper
purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost of litigation;
(2) is supported by existing law or by a nonfrivolous argument for extending or modifying
existing law; (3) the factual contentions have evidentiary support or, if specifically so identitied,
will likely have evidentiary support after a reasonable opportunity for fm'ther investigation or
discovery; and (4)¢ the complain®wise complies with the requirements of Rule 11.

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TDate)

(Revised December 2017)

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January 28, 2019 Mohammed AlGhareeb
2444 S Oakland Cir
Aurora, CO 80014
(720) 388-5945
mhalghareeb@yahoo.com
Hello,

My name is Moha.mmed AlGhareeb and I am an international student studying PhD in Applied
Statistics & Research Methods at the University of Northem Colorado. I have been put in an
unfortunate situation by my lmiversity that I believe is discriminative and abusive of power. I
want to file a lawsuit

To start, in the semester of Spring 2014, I faced my first issue with a professor who showed
discriminative attitudes towards me by grading my work unfairly. I followed the university’s
protocol and proved the misconduct in order to address this issue. My case went to the Dean of
Graduate and International Students. Aiter a year of multiple exchanged discussions, We were
able to reach a compromised agreement in which I don’t have further interactions with the
professor as well as pass the class (but still keeping the C- grade in the transcript). I have all the
exchanged emails and documents as proof.

The second issue started 2 years ago, when I took my comprehensive exam that I need to pass in
order to graduate After I received the results of the exam and discussed the results with my
advisor/head of the department (beginning of February 2017), I was able to identify several
interventions by the same professor with another clear misconduct and a violation of the
department’s manual which resulted in me failing the First Day of the comprehensive exam
unfairly (The Theory Part). I have been appealing this issue through the university since
February 2017 with no cooperation or understanding from the departments or the university.

Some of these misconducts are as follow:

l- The professor I had a discrimination issue with (made) participated in most of the questions on
the comprehensive exam when it was against the department’s manual. The manual states that
every professor is to write questions for the classes they taught only. I was the only student who
have had only one professor write/grade most of the questions on my exam, a professor that was
instructed to not have further academic contact with me. And the rest of the questions were
(created) written/checked by the head of the department. Based on the university’s policy
manual, there should be at least four professors to create/grade the exam.

2- During my comprehensive exam, the professor I had an issue with was assigned as the
factually member to watch me which put me in an uncomfortable and stressful environment
Note that I was the only PhD Statistics student taking the exam.

3- rIl:ie exam is divided into two sections; Day one is the Theory part of the exam while day two
is the Method part of the exam. During day one of the exam, I was assigned a Methods question
which caused disruption and anxiety since I was only prepared for the Theory section as I was
instructed This situation never happened to any student in the past

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4- The results of the exam indicated that I failed part l of the exam (the Theory part). A question
on the exam was directly taken from a midterm and I failed it on the exam but got a 100% on the
midterm. Interestingly, I answered the question exactly the same on both the midterm and the
comprehensive exam. This shows a clear pattern of misconduct on behalf of the professor.

When I was aware of these incidents I went directly to my advisor/the head of the department
and after several meetings and discussions, I Was told to take my case to the graduate school.
When I did so, the graduate school yet again, had their own commitments and my issue was not
resolved with the excuse that I have had passed my appealing deadline I let them know that I
did appeal to my advisor right away. The response l received was the policy manual’s deadline
should be followed. However, the policy manual did not provide a timeline for appealing and the
policy manual only applied to appealing for classes.

My family and I have been financially and emotionally effected by this situation and the
university is not taking fair action. I lost my full scholarship and sponsorship from my
government My scholarship included my source of income, health insurance for me and my
family, annual tickets to fly back home and school tuitions for me and my children. Not to
mention, this situation hindered my job opportunities back home.

I want to conclude by stating that I have exhausted all my resources in order to resolve my issue
peacefully and within the university. I followed the protocols and took it step by step and was
unfortunately pressured to take matters to a higher position. I was able to reach the president of
the lmiversity by e-mail about 3 weeks ago and explained my situation He forwarded my email
to the dean of the graduate school who had refused to help me many times in the past and is a
major part of the issue. I am convinced that the university is not willing to help me and I believe
it is a discriminative act and an abuse of power towards me which is why I Want to pursue further
interventions to reach a just solution. That being stated, I am able to provide documentations to
prove my points.

Best regards,
Mohammed AlGhareeb

